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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES - GENERAL
 Case No.        SA CV 08-1383-AHS(RNBx)                                                     Date     September 20, 2011
 Title           Elizabeth LaValle et al. v. ChexSystems, Inc.




 Present: The Honorable               ALICEMARIE H. STOTLER, U.S. DISTRICT JUDGE
                       Carolyn Voss                                                       None present
                       Deputy Clerk                                                 Court Reporter / Recorder
             Attorneys Present for Plaintiff:                                   Attorneys Present for Defendants:
                              None                                                            None

 Proceedings:                  (In Chambers) ORDER TO FILE SUPPLEMENTAL
                               DECLARATIONS REGARDING CLASS RECOVERY AND
                               ATTORNEYS’ FEES

       On March 25, 2011, the Court granted preliminary approval of class settlement and
ordered dissemination of the class notice. The time for class members to file a claim,
object, or opt out expired on August 8, 2011. On September 2, 2011, Plaintiffs filed a
motion for orders 1) granting final approval of class action settlement, 2) granting a
service fee of $2,500 to the class representative, and 3) granting attorneys’ fees and costs
pursuant to Federal Rules of Civil Procedure 54(d)(2) and 23(h). (Doc. No. 47.) Along
with their motion, Plaintiffs also filed declarations from counsel, the class representative,
and the consultant hired to disseminate class notice.

       The Court, having read and considered Plaintiffs’ motion and accompanying
declarations, orders counsel for Plaintiffs to file one or more supplemental declarations,
no later than September 26, 2011, to support the hourly rates of various counsel who
worked on this matter. (Sherman Decl. ¶ 5.) In addition, Plaintiffs’ counsel shall submit
an estimate of the aggregate amount Defendant may be required to pay to all class
members, factoring in any necessary adjustments based on class member responses to
deficiency notices received by September 16, 2011. (Cudworth Decl. ¶ 13.)

       The Clerk shall serve a copy of this minute order on counsel for all parties in this
action.
                                                                                                              :
                                                                         Initials of Clerk      cjv


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